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4
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5    BRUGNARA PROPERTIES VI
6

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8
                           UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF CALIFORNIA
9

10
       In Re                                        )
11                                                      Case No. 17-30501
                                                    )
12     BRUGNARA PROPERTIES VI,                      )   Chapter 11
                                                    )
13                             Debtor.              )
                                                    )
14     _____________________________________        )
15
                                                    )   Adversary Proceeding No.
       BRUGNARA PROPERTIES VI,                      )
16                                                  )
                               Plaintiff,           )   COMPLAINT FOR DAMAGES
17     Vs.                                          )
                                                    )   Breach of Contract;
18
       PSG CAPITAL PARTNERS, INC., A                )   Intentional Misrepresentation;
19     California Corporation; PHILIP FUSCO; and    )
       JOHN DeVITO;                                 )
20                                                  )
                            Defendants.             )
21
       _____________________________________        )
22

23
             BRUGNARA PROPERTIES VI (“Plaintiff” or “Debtor”) hereby complains against

24   defendants PSG CAPITAL PARTNERS, INC., a South Dakota Limited Liability Company,

25   PHILIP FUSCO and JOHN DeVITO, (collectively, “Defendants”), and alleges as follows:

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     COMPLAINT FOR DAMAGES
                                                1
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                                             JURISDICTION AND VENUE
1

2             1. Plaintiff is a corporation duly organized under the laws of the State of California,

3    who filed this Voluntary Petition under Chapter 11 of the U.S. Bankruptcy Code on May 22,
4
     2017.
5
              2. Defendant, PSG CAPITAL PARTNERS, INC. is a California corporation.
6
     Defendant purports to be a secured creditor of the Debtor.
7
              3. Defendants, PHILIP FUSCO and JOHN DeVITO are individuals and are
8

9    officers, directors or managers of Defendant PSG CAPITAL PARTNERS, INC..

10           4. This court has jurisdiction over this adversary proceeding under the provisions of
11
     Title 28 U.S.C. § 1334.
12
             5. This is a core proceeding pending under 28 U.S.C. § 157(b)(2)(B) and (C). This
13
     adversary proceeding relates to the case of In re BRUGNARA PROPERTIES VI, Chapter 11
14

15
     No. 17-30501, pending in the United States Bankruptcy Court for the Northern District of

16   California, San Francisco. Plaintiff consents to the entry of a final judgment by the

17   Bankruptcy Court.
18
             6. The transactions, matter and occurrences hereinafter alleged all occurred, in
19
     whole, or in part in the Northern District of California, rendering this court, the proper venue
20
     for the trial of this action.
21

22                              FIRST CLAIM FOR RELIEF
                 (BREACH OF CONTRACT AGAINST PSG CAPITAL PARTNERS, INC.)
23
             7. In or about June 2016, Defendant PSG CAPITAL PARTNERS, INC., entered
24

25
     into a loan agreement with Plaintiff pursuant to which PSG CAPITAL PARTNERS, INC.

26   promised to loan to Plaintiff the sum of $6,000,000 with interest at the rate of 12.95% per

27   annum, for a period of 24 months. The Loan was to be secured by a second position deed of
28



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     trust on the Debtor’s property at 224 Seacliff Ave., San Francisco, California (“the
1

2    Property”).

3           8. The agreement between Plaintiff and Defendants was that the loan would be used
4
     to pay off existing second and third trust deeds against the Property and to provide the
5
     Plaintiff with operating capital to make repairs and loan payments.
6
            9. Defendants were aware of Plaintiff’s financial situation and its need for an
7
     immediate capital infusion. Defendants were aware that a prior lender, Dakota Note, had
8

9    failed to perform on its promise to fund a loan to Plaintiff.

10          10. There were no conditions precedent to the agreement to make the loan. In
11
     reliance upon the promises made by Defendants that the loan would be funded promptly,
12
     Plaintiff’s representatives signed the loan papers and provided the signed documents to First
13
     American Title Company.
14

15
            11. In reliance upon the representations of Defendants that the loan would be

16   funded, after loan documents were signed Plaintiff ceased looking for other sources of

17   funding.
18
            12. Defendants continued to promise over several months that the funds were
19
     delayed but would be promptly wired to the title company, First American Title, and that
20
     escrow would in fact close.
21

22          13. Defendants failed to fund the loan. Instead, because they knew Plaintiff needed

23   money right away, Defendants made a “temporary” loan in the amount of $1,500,000 to
24   Plaintiff and took back a fourth position deed of trust on the Property (“the new loan”). The
25
     new loan, after payment of points, fees and advance interest, amounted to a loan with an
26
     effective interest rate of between 60-100%.
27

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            14. Plaintiff agreed to this transaction only because of the repeated promises by
1

2    Defendants that they would replace this illegal loan with the $6,000,000 loan for which the

3    loan documents had already been signed.
4
            15. Because of the Defendant’s failure to fund the new loan, Plaintiff was unable to
5
     complete the capital repairs to the Property, and to pay off the second and third notes. As a
6
     result of this, Dakota Note began foreclosure proceedings against the property.
7
            16. Plaintiff has been damaged as a result of the actions of Defendants in that it has
8

9    incurred substantial interest expense and has been unable to make necessary improvements

10   to the Property reducing the amount of equity the Plaintiff has and should have had in the
11
     Property. The exact amount of Plaintiff’s damages is not yet known. Plaintiff will amend
12
     this Complaint to assert the exact amount when it has been ascertained.
13
            17. The Agreement provides for the payment of attorneys’ fees and expenses in the
14

15
     event of a default. The exact amount of Plaintiff’s attorneys’ fees and expenses is not yet

16   known, and Plaintiff will amend this Complaint to assert the amount of fees and expenses

17   when the amount has been ascertained.
18
                               SECOND CLAIM FOR RELIEF
19             (INTENTIONAL MISREPRESENTATION AGAINST ALL DEFENDANTS)

20          18. Plaintiff refers to Paragraphs 1 through 17 above and incorporates those
21
     paragraphs herein as if more fully set forth
22
            19. In connection with the loan agreement described above, defendants, represented
23
     to Plaintiff that they would make the $6,000,000 loan to Plaintiff and that they had the funds
24

25
     to make the loan. The representations continued being made up to the date of the filing of

26   this Chapter 11 case.

27          20. The representations made by Defendants were in fact false. Defendants never
28
     intended to make the loan. The representations were made with the intent of inducing

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     Plaintiff to enter into the second, more costly, loan agreement with Defendants. Defendants
1

2    knew that if the second loan were not made, Plaintiff would be unable to make the payments

3    due under the original Note and Defendants would be able to foreclose on the Property and
4
     reap the benefit of the substantial equity in the Property.
5
             21. As a result of Defendants’ representations, Plaintiff has been damaged as set
6
     forth above in an amount to be proven at trial.
7
             22. Defendants actions were willful and malicious and designed to and did cause
8

9    serious injury to Plaintiff. Plaintiff is entitled to punitive damages in an amount to be

10   proven at trial.
11

12           WHEREFORE, Plaintiff prays for judgment as follows:

13           1.   For damages according to proof ;
14           2. For punitive damages according to proof;
15
             3. For Plaintiff’s costs of suit;
16
             4. For Plaintiff’s attorneys’ fees; and
17
             5.   For such other and further order as the Court deems proper.
18

19
     Dated: July 20, 2017                           LAW OFFICE OF RUTH AUERBACH
20

21                                                  By:___/s/ Ruth Elin Auerbach________
                                                    RUTH ELIN AUERBACH, Attorney for
22
                                                    Plaintiff, BRUGNARA PROPERTIES VI
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     COMPLAINT FOR DAMAGES
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